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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

    Waid, et al.,

                Plaintiffs                       No. 5:16-cv-10444

    v.                                           Hon. Judith E. Levy

    City of Flint, et al.,

                Defendants.


                       PLAINTIFFS’ OPPOSITION TO
                 SUBPOENA RECIPIENTS’ MOTION TO QUASH

         Pursuant to Rule 45 of the Federal Rules of Civil Procedure, Plaintiffs oppose

  the Motion to Quash filed by Gary Miles and Brendan Clarey (collectively the

  “Subpoena Recipients”). The Subpoena Recipients are employed by The Detroit

  News –– a Michigan publication. Through this platform, the Subpoena Recipients

  published an opinion article authored by Tiger Joyce, President of the American Tort

  Reform Association (“ATRA”). Plaintiffs have a good faith belief that Joyce’s

  article is part of Defendant Veolia’s ongoing digital advertising misinformation

  campaign (“campaign”), which appears to target the juror pool in the Flint Litigation.

         On September 1, 2022, the Subpoena Recipients were served with subpoenas

  seeking their deposition testimony and the production of documents related to the

  campaign. The Subpoena Recipients moved to quash, or alternatively to limit the
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  scope of the subpoenas. The motion is unjustified and should be denied, and the

  Subpoena Recipients should be compelled by the Court to provide the requested

  testimony and documents associated therewith.

                               FACTUAL BACKGROUND

        In order to fully appreciate the relevancy of the subpoenas, a brief discussion

  of the recent background concerning the ongoing litigation is critical. During the

  Bellwether I trial, Plaintiffs’ counsel became aware of the Veolia Twitter account,

  “@VNAFlintFacts,” and Veolia’s accompanying website, “veoliaflintfacts.com.”

  Plaintiffs believe Veolia may have used the account and website as mechanisms to

  spread misinformation on aspects of the trial happening in real time, and on the larger

  litigation more generally.

        On March 30, 2022, during the trial, the Court inquired whether “counsel was

  involved” in the Twitter posts addressing courtroom events, implicating Professional

  Rule of Conduct 3.6A. See Exhibit A (Excerpt of March 30, 2022 Trial Transcript).

  Thereafter, Plaintiffs’ counsel subpoenaed multiple Veolia entities, seeking

  production of documents related to the Twitter handle @VeoliaFlintFacts. The

  Veolia entities objected, and Plaintiffs filed a motion to compel, which the Court

  denied without prejudice on July 11, 2022. See (ECF No. 870, Or.).

        Notably, however, the Court advised that the information sought would

  become relevant if there was evidence that the jury was aware of the tweets. Id. at



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  PageID 53692. Further, the Court also explained the information sought would

  become relevant if there was a showing of attorney involvement. Id. Subsequently,

  compelling information has come to light indicating that Veolia intended (and

  perhaps succeeded) in spreading misinformation to the Bellwether I jurors and

  potentially hundreds of thousands of future jurors. Exhibit B (September 9, 2022

  Article, “Company sued over Flint’s water crisis wages digital PR war during

  trial”);1 see also Exhibit C (October 26, 2022 Investigative Article, “Veolia Exec To

  Be Deposed Over Alleged Flint Juror Targeting”).

        The campaign is larger than a website and a Twitter handle, and likely

  includes an entire buffet of search optimization and potentially geo-targeted

  advertisements. It also likely includes the subject opinion column. The author, Mr.

  Joyce, consistently pens editorials criticizing plaintiff trial lawyers, and their use of

  the civil justice system. But typically, Mr. Joyce’s editorials are nationally


        1
          As the Court is aware, on September 8, 2022, Kayla Ruble from The Detroit
  News published an investigative article which analyzed VNA’s digital advertising
  campaign from 2016 to present day. In the article, Ruble explained how her
  investigation revealed that Veolia used an “ad blitz” from October 2021 to July 2022
  and “dynamic ads” to target Google searches in order to direct users to their website–
  veoliaFlintFacts.com. As now relevant, Ruble explained that publicly available data
  revealed that during the Flint Bellwether I trial Veolia purchased dynamic Google
  ads to promote their alternative Flint Facts website. (Dynamic ads are a form of
  advertising Google offers ad purchasers to “find customers searching on Google for
  precisely what you offer.” See Exhibit D (Webpage, “About Dynamic Search Ads”).
  These ads offer a variety of targeting options which allow ad purchasers to geotarget
  at a ZIP code level as well as radius targeting. Both forms of targeting allow ad
  purchasers to tailor their ad buys to a relevant audience.)

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  syndicated or published to trade outlets.2 Strangely, however, on August 31, 2022,

  Joyce’s article was published in The Detroit News, the hometown paper for the jury

  pool in this District. It was prior to and during this time that Ms. Ruble was reaching

  out for comment to counsel of record for the Bellwether I trial regarding her

  investigation into Veolia. And suddenly, as though the tort-reform Gods had spoken,

  Mr. Joyce took interest in the local publication, a strange deviation from years of

  focusing on a much different audience.

        The opinion editorial, titled “Flint civil trial shows consequences of lawsuit

  abuse,” attacked not only the merits of Plaintiffs’ claims, but also the character of

  Plaintiffs’ counsel. See Exhibit F (August 31, 2022 Article, “Joyce: Flint civil trial

  shows consequences of lawsuit abuse”). Further, Joyce’s article spread patently false

  and misleading information regarding not just the Bellwether I trial, but about the

  Flint litigation as a whole. Joyce wrote that “meritless cases,” like the recent

  Bellwether I mistrial, clog up and “prevent legitimate claims from being heard.” Id.

  Joyce also attacked statements made by attorneys for Plaintiffs, claiming that the




  2
    On July 4, 2022, InsideSource.com published another opinion article Joyce
  authored concerning the Flint Water Crisis. Joyce’s column in The Detroit News
  closely tracked this earlier editorial. There is a remarkable shift in tone toward
  Plaintiffs’ counsel and notable facts omitted between the two publications. Exhibit
  E (July 4, 2022 Article, “Latest Flint Water Trial Unlikely to Result in Help for
  Victims”).

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  attorneys’ words “demonstrate the trial bar’s view that the purpose of our civil justice

  system is not to find liability but rather to destroy a business.” Id. (emphasis added).

        Joyce characterized the civil trials as “lawsuit abuse,” claiming that “when

  lawsuit abuse is allowed to flourish, it undermines the very foundation of our justice

  system.” (That’s his opinion, and he’s certainly entitle to it and to express it however

  and whenever he sees fit). Joyce went on to state:

        While there is no doubt that the residents of Flint suffered
        tremendously, it's clear that some of the subsequent lawsuits are
        nothing more than opportunistic attempts to cash in on the crisis. As
        a result, [the Flint Litigation] has become a prime example of how
        lawsuit abuse can take advantage of innocent victims.

  Id. (emphasis added).

        Joyce also portrayed Veolia as victims of a scheme by Plaintiffs’ counsel to

  “get rich by bankrupting companies with deep pockets[,]” and flat-out lied when

  he stated that attorneys for the Plaintiffs in the Flint Water Crisis collected $200

  million from a $626 million settlement. Id. (emphasis added). To this day, not a

  single cent of the settlement has been paid to Plaintiffs or their counsel. He also

  omitted that the Flint Bellwether I Defendants are not and have never been part of

  the settlement — a crucial fact in the litigation. And one that would have created a

  much different tenor in his article. Clearly, and despite Joyce’s averments, Plaintiffs

  are not seeking compensation from defendants who have settled, but rather are

  pursuing claims that have survived summary disposition against companies who



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  indisputably were contracted by the City of Flint prior to and during the crisis, and

  who to date take no responsibility for the crisis. Quite obviously, to the Court, though

  not to Joyce’s taget audience, the Flint Bellwether I trial (and those scheduled in the

  future) involve non-settled defendants.

        Joyce’s column –– coupled with its timing and the mounting evidence of

  Veolia’s attempts to speak to empanelled and future jurors through the media ––

  supports the need for the subject discovery. Plaintiffs have a good faith basis to

  believe that this article could be part of Veolia’s efforts to influence jurors. And it

  ought to be noted that Plaintiffs are not seeking to curtail Joyce’s (or anyone else’s)

  speech. But The Detroit News has covered the Flint Water Crisis extensively for

  close to eight years, including wide-ranging coverage of the referenced settlement.

  It would be far-fetched for anyone to believe that the publication was simply

  unaware that the settlement (referenced by Joyce) is on appeal, and that not a single

  attorney or resident of Flint has received a single cent at the time the Joyce article

  was published. While the Subpoena Recipients are not parties to the litigation, they

  are responsible for content published in The Detroit News. Gary Miles is the

  newspaper’s Editor and Publisher while Brendan Clarey works as an opinion writer

  and editor. Upon information and belief, both of the Subpoena Recipients edited and

  signed off on Joyce’s article before it was published. As such, the Subpoena

  Recipients are in possession of material Plaintiffs cannot access except through these



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  indiviudals and the discovery mechanisms available through these subpoenas,

  namely how and who was responsible for pitching the article, edits made to the

  article and by whom, and whether Veolia, its agents or representatives were part of

  the process.

                                APPLICABLE LAW

        Federal Rule of Civil Procedure 45 permits a party to serve a subpoena on

  non-parties. Fed. R. Civ. P. 45(d). “A subpoena to a third party under Rule 45 is

  subject to the same discovery limitations as those set out in Rule 26.” State Farm

  Mut. Auto. Ins. Co. v. Warren Chiropractic & Rehab Clinic, P.C., 315 F.R.D. 220,

  22 (E.D. Mich. 2016). Rule 26 provides that “[p]arties may obtain discovery

  regarding any nonprivileged matter that is relevant to any party’s claim or defense

  and proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1). Courts

  interpreting this standard have repeatedly held that the scope of discovery is

  “traditionally quite broad.” Parrottino v. Bankers Life & Cas. Co., No. 12-CV-

  13084, 2014 WL 1516195, at *1 (E.D. Mich. Apr. 17, 2014) (citing Lewis v. ACB

  Bus. Servs., 135 F.3d 389, 402 (6th Cir.1998).

                                    ARGUMENT

        The Subpoena Recipients moved to quash Plaintiffs’ subpoenas, claiming that

  the requests are improper. In the alternative, they seek to limit the scope of the

  subpoenas by way of a protective order. They also seek costs and fees. However, the



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  Subpoena Recipients have not shown they are entitled to any relief whatsoever.

  Plaintiffs’ requests are relevant, as they go to the heart of a coordinated campaign to

  influence an entire jury pool, which directly impacts Plaintiffs’ claims. The requests

  are not unduly burdensome or overly broad. Rather, the information sought is

  narrowly tailored and specific to the opinion article authored by Joyce. Accordingly,

  Plaintiffs respectfully request that the Court deny the motion and compel the

  Subpoena Recipients to provide testimony and documents pursuant to the

  subpoenas.

  I.    PLAINTIFFS’ SUBPOENAS SEEK RELEVANT INFORMATION
        ESSENTIAL TO THE FLINT WATER LITIGATION.

        The Subpoena Recipients argue that Plaintiffs’ subpoenas are outside the

  scope of discovery because they do not seek relevant information. This argument is

  without merit. The Sixth Circuit has held that “because discovery is designed to help

  define and clarify [] issue[s], the limits set forth in Rule 26, [including relevancy],

  must be construed broadly to encompass any matter that bears on, or that reasonably

  could lead to other matters that could bear on, any issue that is or may be in the

  case.” Conti v Am Axle & Mfg, Inc., 326 Fed Appx 900, 904 (6th Cir. 2009) (quoting

  Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351 (1978) (internal quotation

  marks omitted) (emphasis added).

         Here, the information requested in the subpoenas at issue – information

  related to the publishing of Joyce’s article in The Detroit News – reasonably could

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  lead to information related to Veolia’s ongoing digital advertising misinformation

  campaign, which is clearly relevant to Plaintiffs’ claims, to the extent the campaign

  targets and directly attempts to influence potential jurors in the Flint litigation.

        An analysis of Joyce’s August 2022 article illuminates why information about

  how Joyce’s article came to be published could lead to relevant discovery related to

  Veolia’s attempts to influence the jurors.

        First, Joyce’s August article was not his first foray into writing about the Flint

  litigation. In July 2022, Joyce wrote his first opinion article criticizing the Flint

  litigation. See Exhibit E. Joyce’s July article reads similarly to the August article

  published in The Detroit News. However, there are several key differences between

  the two columns and these differences heighten the relevancy of Plaitniffs’ requests

  seeking information on how the article came to be published.

        The July article was published on InsideSources.com, a website catering to

  policymakers with content from “decision makers and wonks who understand the

  issues and shape our policies.” Exhibit G (Webpage “About InsideSources”).

  Whereas for the August article, Joyce strategically chose The Detroit News as a

  landing spot, a Michigan centered newsource where the Flint litigation jury pool just

  so happens to reside.

        While that fact, in and of itself is at least interesting, even more alarming is

  the shift in Joyce’s tone toward Plaintiffs’ counsel, the body of litigation itself, and



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  the facts surrounding the Bellwether I trial. In the July article, Joyce explicitly stated

  that neither of the Bellwether Defendants were involved in the settlement. Despite

  significant redundance in the two articles, that particular information was omitted

  from the August Detroit News article. Additionally, in the July InsideSources.com

  article, Joyce focused on the failure of government. He wrote: “The civil justice

  system exists to resolve disputes — not to perform the functions of public health

  officials, legislators and regulators.” See Exhibit F. This is a stark contrast from the

  “get rich by bankrupting companies with deep pockets” angle Joyce wrote

  specifically for his August Detroit News article.

        Second, the timing of Joyce’s August Detroit News article is no accident.

  Because Veolia was extensively quoted in the Ruble investigative article, it was

  obviously put on notice that the Ruble article – which explained that an investigation

  revealed that Veolia used an “ad blitz” and “dynamic ads” to potentially geo-target

  potential jurors – was going to be published in late August or early September. It is

  therefore more than curious that Joyce’s article was published at that same time. This

  suspicious timing makes it logical to infer that Joyce’s article was part of Veolia’s

  coordinated effort to continue to spread its misinformation campaign by

  undermining the Ruble article before it was made public.

        Given the content of Joyce’s article published in The Detroit News, its timing

  in conjunction with the Ruble investigative article, and Veolia’s apparent



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  coordinated misinformation campaign, it is beyond doubt that the evidence Plaintiffs

  are seeking through their subpoenas is proper and within the scope of Rule 26.

  II.   THE SUBPOENA RECIPIENTS’ REMAINING ARGUMENTS ARE
        VAGUE AND WITHOUT MERIT.

        The Subpoena Recipient’s remaining arguments are difficult to discern and

  far too vague to justify quashing Plaintiffs’ subpoenas. First, they argue that “the

  burden on Mr. Miles and Mr. Clarey to attend depositions and produce documents

  is great, as it potentially requires them to produce confidential, unpublished material

  and communications from Mr. Miles and Mr. Clarey related to their editorial

  functions.” However, Courts in this district have held that such bare assertions are

  insufficient to bar compliance with a subpoena request. See State Farm Mut. Auto.

  Ins. Co. v. Physiomatrix, Inc., Civil Action No. 12-cv-11500, 2013 U.S. Dist. LEXIS

  189832, at *48 (E.D. Mich. Nov. 26, 2013) (“Where [subpoena recipient] has not

  supported his claim of burden by affidavit or otherwise, his bare assertion is

  insufficient to permit refusal to comply with the subpoena in its entirety.”) Rather,

  objections “must show specifically how a discovery request is overly broad,

  burdensome, or oppressive, by submitting affidavits or offering evidence which

  reveals the nature of the burden.” United States v. Marsten Apartments, CASE NO.

  95-CV-75178-DT, 1997 U.S. Dist. LEXIS 14262, at *5 (E.D. Mich. June 16, 1997)

  (alterations, internal citations and quotations omitted). The Subpoena Recipients




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  have not met this burden; they failed to offer any such evidence to justify quashing

  Plaintiffs’ subpoenas.

        Second, the Subpeona Recipients argue that complying with the subpoena will

  inhibit the journalistic process and that this process is entitled to certain protections

  from discovery. However, the Subpoena Recipients entirely fail to support that these

  protections apply here. For example, they rely on In re DaimlerChrysler AG

  Securities Litigation, 216 F.R.D. 395, 406 (E.D. Mich. 2003) in support of their

  tenuous position. In that case, however, the court acknowledged that there is “no

  protection [for the press] for a request in a civil case for nonconfidential materials.”

  Id.

        While the DaimlerChrysler subpoenas were ultimately quashed, the court

  clarified that this was because the discovery request sought “unpublished material

  that was obtained from named informants and relates to communications with those

  informants.” Id. This situation is clearly distinguishable. Here, Plaintiffs seek

  specific information regarding the steps taken to publish an editorial column by a

  non-party, which could heavily influence the outcome of current and future

  litigation. Joyce is not an unnamed source, nor is his article (or the documents and

  communications related thereto) confidential material.

        Third, the Subpoena Recipients argue that Plaintiffs’ subpoenas seek

  documents “related to a meritless defamation claim, not the actual litigation.” This



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  is patently false and could not be more unfounded. This is not about a defmation

  claim, and the Subpeona Recipents attempt to paint it as a such is at best a red herring

  and at worst a calcuted attempt to disparage Plaintiffs counsel. As discussed above,

  uncovering the breadth and depth of Veolia’s coordinated digital advertising

  misinformation campaign is material to the litigation of Plaintiffs’ claims and to Flint

  litigation in general. And determining how Joyce’s article was selected to run in The

  Detroit News, who was responsible for pitching it, and who contributed to it, are

  vital to the Flint litigation. Fed. R. Civ. P. 26(b)(1).

         In their final attempt to undermine the relevancy of this discovery, the

  Subpoena Recipients point to a previous Order which quashed different subpoenas

  than those at issue here. While those subpoenas were related to discovery of

  Veolia’s digital advertising misinformation campaign, the Court carefully noted that

  the information could become relevant at a later date if evidence that jurors had been

  targeted came to light. See ECF No. 870 at PageID 53692-53693. Since that order,

  mounting evidence of Veolia’s direct efforts to speak to and influence jury pools in

  the Flint litigation has revived this relevancy argument. Indeed, this Court has

  already ordered testimony regarding other elements of this very misinformation

  campaign.




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  III.   THE SCOPE OF THE SUBPOENAS SHOULD NOT BE LIMITED

         As an alternative to quashing the subpoenas outright, the Subpoena Recipients

  seek limitations on the scope of the subpoenas. Pursuant to Federal Rule of Civil

  Procedure 26 (b)(5)(A), a party withholding information otherwise discoverable by

  claiming that the information is privileged must: (1) “expressly make the claim;”

  and (2) “describe the nature of the documents, communications, or tangible things

  not produced or disclosed—and do so in a manner that, without revealing

  information itself privileged or protected, will enable other parties to assess the

  claim.” Fed. R. Civ. P. 26(b)(5)(A). “The burden of establishing privilege and non-

  waiver rests with the person asserting it.” Ypsilanti Cmty. Utils. Auth. v.

  Meadwestvaco Air Sys. Llc, No. 07-CV-15280, 2010 U.S. Dist. LEXIS 3175, at *4

  (E.D. Mich. Jan. 15, 2010).

         The Subpoena Recipients have simply failed to meet that burden. They have

  not even atttepted to describe the nature of the withheld documents and/or tangible

  things that they claim to be privlegded as is required by the rule. Fed. R. Civ. P

  46(e)(2)(A)(ii).




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  IV.   THE SUBPOENA RECIPIENTS ARE NOT ENTITLED TO FEES

        The Subpoena Recipients are not entitled to attorney fees. For the reasons set

  forth above, Plaintiffs’ position is “substantially justified.” Fed. R. Civ. P. 37(a)(5).

  Further, counsel has taken reasonable steps to avoid imposing undue burden or

  expense on them. Fed. R. Civ. P. 45(d)(1). The requests are narrowly tailored to

  certain documents and merely ask that the documents be brought to a deposition,

  which the Subpoena Recipients may attend remotely.

                                     CONCLUSION

        In light of the forgoing, Plaintiffs respectfully request this Court deny the

  Motion to Quash and compel the Subpoena Recipients to provide the requested

  testimony and documents associated therewith.

  Dated: October 31, 2022.                              Respectfully submitted,

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                           CERTIFICATE OF SERVICE

         I hereby certify that on October 31, 2022 I electronically filed this document
  with the Clerk of the Court using the ECF System, which will send notification to the
  ECF counsel of record.


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